Case 2:O4-cV-O2884-.]DB-tmp Document 20 Filed 07/22/05 Page 1 of 2 Page|D 28

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE -
WESTERN DIVISION 05 JUL 22 PH 2. 37

 

 

THOMAS M. GOU_D
CIEHK. U.S. Dt?Wf-C_T COUT
W/D O,'F ?`P£, S»P§MPH?S

GILBERT LEVERNE, JR.,
Plaintiff,

v. No. 04-2884-BP

JURY TRIAL DEMANDED

SHELBY GROUP
INTERNATIONAL, INC.
a Tennessee Corporation,

Defendant.

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ORDER GRANTING MOTION FOR EXTENSION OF TIME

 

Having considered the motion and statements of counsel for the Parties and the
entire record in this cause:

IT IS HEREBY ORDERED, ADJUDGED AND DECREED, as follows:

The Parties’ motion is Well-taken and should be granted Specific dates amended
are as follows:

l. Plaintiff’ s responses to Defendant’s discovery Will be due August 1, 2005_

Date: Tdkga/ Q_Q_»', MO~SHM \/(/:“>@»\

FEDERAL (MAGISTRATE) JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
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ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

